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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION

YVONNE TINIE STRINGFIELD,                       )
Individually, and as Administrator of the       )
Estate of MARY MARSH, Judy Jones,               )
Lisa Jones and Walter T. Marsh                  )
                                                )
         Plaintiff,                             )      CIVIL ACTION
                                                )      FILE NO. 7:12-cv-00018-HL
v.                                              )
                                                )
GGNSC TIFTON, LLC; GOLDEN                       )
LIVING, INC., and XYZ ENTITY d/b/a              )
GOLDEN LIVING CENTER TIFTON                     )
                                                )
         Defendants.                            )

                           STIPULATION OF DISMISSAL

         COME NOW the Plaintiffs, Yvonne Tinie Stringfield, Individually, and as

Administrator of the Estate of Mary Marsh, Judy Jones, Lisa Jones, and Walter T.

Marsh, and Defendants GGNSC Tifton, LLC and XYZ Entity d/b/a Golden Living

Center Tifton and hereby stipulate to the dismissal with Prejudice of this action

against Defendants GGNSC Tifton, LLC; Golden Living, Inc. and XYZ Entity

d/b/a Holden Living Center Tifton pursuant to Fed Rule Civ. Proc. 41(a)(1)(A).

         Stipulated and agreed to this 3rd day of July, 2013.




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                                         LEE | DURHAM, LLC


                                         _/s Joseph P. Durham
                                         Joseph P. Durham, Jr.
                                         Georgia Bar No. 235524
                                         David W. Orlowski
                                         Georgia Bar No. 554325
                                         Attorneys for Plaintiffs

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                                         /s/ Marcus W. Wisehart
                                         David C. Marshall
                                         State Bar No. 471512
                                         Debra E. LeVorse
                                         State Bar No. 242229
                                         Marcus W. Wisehart
                                         State Bar No. 771355
                                         Attorney for Defendants GGNSC Tifton,
                                         LLC, and XYZ Entity d/b/a Golden Living
                                         Center Tifton


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                                       Certification

        I certify that the originally executed document contains the signatures of all
filers indicated herein and therefore represents consent for filing of this document.


         This, the 3rd day of July, 2013.

                                                /s/ Marcus W. Wisehart
                                                 Marcus W. Wisehart




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION

YVONNE TINIE STRINGFIELD,                     )
Individually, and as Administrator of the     )
Estate of MARY MARSH, Judy Jones,             )
Lisa Jones and Walter T. Marsh                )
                                              )
         Plaintiff,                           )     CIVIL ACTION
                                              )     FILE NO. 7:12-cv-00018-HL
v.                                            )
                                              )
GGNSC TIFTON, LLC; GOLDEN                     )
LIVING, INC., and XYZ ENTITY d/b/a            )
GOLDEN LIVING CENTER TIFTON                   )
                                              )
         Defendants.                          )

                            CERTIFICATE OF SERVICE

         This is to certify that I have this day served all counsel of record in the

foregoing matter with a copy of STIPULATION OF DISMISSAL by depositing

in the United States Mail a copy of same in an envelope with adequate postage

thereon, addressed as follows:

                                 David S. Eichholz
                            The Eichholz Law Firm, P.C.
                              530 Stephenson Avenue
                                     Suite 200
                               Savannah, GA 31405

                                 Golden Living, Inc.
                                  c/o Anson Pryor
                               87 Southern Golf Court
                               Fayetteville, GA 30215


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         This 3rd day of July, 2013.


                                              /s/ Marcus W. Wisehart
                                               Marcus W. Wisehart




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